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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                   Case No. 3:08cr86/LAC

RAJENDER REDDY NANDYALA
_____________________________________________________________________

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed. R. Crim. P.,
and has entered a plea of guilty to Counts I, II, and III of the Indictment. After cautioning and
examining the Defendant under oath concerning each of the subjects mentioned in Rule 11, I
determined that the guilty plea was knowing and voluntary, and that the offenses charged are
supported by an independent basis in fact containing each of the essential elements of such offenses.
I therefore recommend that the plea of guilty be accepted and that the Defendant be adjudicated
guilty and have sentence imposed accordingly.



Dated: October 15, 2008                       /s/ Elizabeth M. Timothy
                                              ELIZABETH M. TIMOTHY
                                              UNITED STATES MAGISTRATE JUDGE
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                                           NOTICE

       Any objections to these proposed findings and recommendations must be filed within
twenty four (24) hours after being served a copy thereof. Any different deadline that may
appear on the electronic docket is for the court’s internal use only, and does not control. A
copy of objections shall be served upon all other parties. Failure to object may limit the scope
of appellate review of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d
698, 701 (11th Cir. 1988).




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